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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                       v.      )           CASE NO. 4:23-CR-00072
                                               )
EDGAR AYON,                                    )
                                               )
               DEFENDANT.                      )

                         ORDER GRANTING LEAVE OF ABSENCE

       Movant=s application for leave of absence for good cause shown is hereby granted to

Movant, LLOYD D. MURRAY, SR., for the following periods of time:

               October 3, 2024 through and including October 14, 2024 for prepaid international

               travel;

               December 2, 2024 through and including December 6, 2024 for preparation of 38th

               annual celebration;

               January 18, 2025 through and including January 26, 2025 for annual convention;

               March 21, 2025 through and including March 31, 2025 for prepaid international

               travel; and

               April 18, 2025 through and including April 30, 2025 for prepaid international

               travel.

       This leave of absence applies to all proceedings of any kind (including depositions and

hearings) which might be scheduled or noticed in this matter.

                             29th
       SO ORDERED this  day of        August      ,       2024.
    Case 4:23-cr-00072-RSB-CLR Document 36 Filed 08/29/24 Page 2 of 2




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                                        _________  _ ___________ ____
                                                                   _ ______
                                       Christopher
                                       C
                                       Ch        heer L. Ray
                                          riistophe
                                       United States MaMagistrate
                                                          agistrate Jud
                                                                    Judge
                                                                      dge
                                       Southern District of Georgia


Prepared By:
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